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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   WILLIAM D. MEDLEY,

          Plaintiff,                              CASE NO:       6:08-cv-1456-ORL-18-DAB

   Vs.

   CITY OF ORLANDO, and
   Officer JAMES PARKER,
   Individually and in his official
   Capacity,

         Defendants.
   ____________________________/

     RESPOSE TO DEFEDAT, OFFICER JAMES PARKER’S, MOTIO FOR
           SUMMARY JUDGMET AD MEMORADUM OF LAW

          Plaintiff, WILLIAM D. MEDLEY, by and through undersigned counsel, hereby

   responds to Defendant, OFFICER JAMES PARKER’S Motion for Summary Judgment

   bearing a certificate of service of June 1, 2009, and states as follows:

                                      I.   ITRODUCTIO

          Plaintiff, WILLIAM D. MEDLEY, alleged a five count Third Amended

   Complaint (Doc. 29). Count II alleges an action for false arrest and imprisonment against

   Officer James Parker, individually.       Count III alleges a section 1983 action for

   deprivation of rights pursuant to the First and Fourth Amendments to the United States

   Constitution against Officer James Parker. Count V alleges a state common law battery

   claim against Officer James Parker in his individual capacity.

          On November 27, 2006, William D. Medley was in a breezeway assembling

   lawfully with friends and voicing verbal protests to police authority when Officer James

   Parker of the Orlando Police Department (OPD) responded to the verbal protests and
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   arrested the Plaintiff. In his attempt to take the Plaintiff into custody, Officer Parker used

   physical force to detain him, including deploying his department issued Taser. The

   Plaintiff was taken to the hospital for treatment and then taken to the Orange County Jail

   on a no bond status and was not released until December 18, 2006.

                             II.     STADARD FOR REVIEW

          Summary judgment is appropriate “if the pleadings, the discovery and disclosure

   materials on file, and any affidavits show that there is no genuine issue as to any material

   fact and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c).

   As a general rule, summary judgment shall be entered with caution. “Summary judgment

   will not lie if the dispute about a material fact is genuine.” Anderson v. Liberty Lobby,

   Inc., 477 U.S. 242, 248 (1986). A movant for summary judgment has the initial burden

   of demonstrating the non-existence of any genuine issue of material fact. Once the

   movant tenders competent evidence to support the motion, the opposing party must come

   forward with counter evidence sufficient to reveal a genuine issue. It is not enough for

   the opposing party merely to assert that an issue does exist. Id. quoting First National

   Bank of Arizona v. Cities Service Co., 391 U.S. 253 (1968). A dispute over an issue of

   material fact is genuine if the evidence would permit a reasonable jury to return a verdict

   for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

                III. STATEMET OF MATERIAL UDISPUTED FACTS

          On November 26, 2006, Officer Parker was working for the Orlando Police

   Department when he responded to the Palms Apartments. (Parker, p. 36, lines 4 to 11).

   Mr. Medley was also at the Palms Apartments visiting with his sister, a resident of the

   Palms Apartments. (Medley, p. 8, lines 10 to 12; 110, lines 18 to 20). Mr. Medley was



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   lawfully on the property and had on his person, a box cutter and a pocket knife because

   he had been assisting with cutting and replacing carpets in his sister’s apartment all day.

   (Medley, p. 108, line 15 to p. 109, line 2). He was not in violation of any law at the time.

   (Parker, p. 137, lines 8 to 14). Mr. Medley and a group of people were standing in the

   breezeway between apartments. (Parker, p. 51-52, 80). Mr. Medley, as a guest of an

   apartment resident, had a lawful right to be in the breezeway. (Parker, p. 50, 75-76, 110,

   129). Officer Parker did not suspect any member of the group in the breezeway to be

   involved in criminal activity. (Parker, p. 55, lines 6 to 9). Mr. Medley never physically

   obstructed Officer Parker from conducting an investigation. (Parker, p. 126, line 18 to

   129, line 24). Officer Parker ordered the members of this group, which included Medley,

   to leave the breezeway and go inside their apartment without any lawful basis to force

   them to leave. (Parker, p. 72; p. 78 line, 17 to p. 79, line 7). The individuals were in the

   breezeway of the apartment building and yelled at Officer Parker, prompting Officer

   Parker to shine his spotlight on the group. Medley and the other individuals continued to

   walk in and out of the breezeway and continued to yell at Officer Parker. (Parker, p.89,

   lines 15 to 17). Mr. Medley had a right to risk his own safety and remain in the

   breezeway, even with the possibility that armed suspects may have been present in the

   area (Parker, p.79, 129, line 8 to p. 131, 7).

           Mr. Medley never got closer than twenty-three to twenty-four feet of Officer

   Parker before Medley’s arrest. (Parker, p.123, line 18 to 25). While still positioned at his

   patrol car, Officer Parker determined he had probable cause to arrest Mr. Medley.

   (Parker, 89, line 24 to p. 91, line 23). Officer Parker kicked Mr. Medley and deployed

   his taser into Medley’s back. (Parker, 92, line 17 to p. 96, line 23). The time between



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   kicking and tasing Mr. Medley was no more than a couple of seconds. (Parker, p. 99,

   lines 3 to 6). Mr. Medley was arrested by Officer Parker against his will and without

   Medley’s consent. (Parker, p. 109, lines 14 to 23).

                   IV. STATEMET OF MATERIAL DISPUTED FACTS

           1. Mr. Medley alleges that Officer Parker kicked him in the face and stomped on

   him while attempting to arrest him, which Officer Parker denies this. (Medley, 138, line

   18 to p. 139, line 4; Parker p. 151, lines 17 to 18).

           2. Mr. Medley and Officer Parker disagree about whether Mr. Medley’s arms

   were out in front of him, behind him or underneath his body when Officer Parker

   deployed the taser (Medley, 137, line 8 to p. 138, line 8; Parker p. 93, line 19 to p. 95,

   line 23).

           3. Officer Parker’s statements regarding his fear for officer safety are inconsistent

   (Parker Affidavit ¶¶ 12, 18; Parker p. 107, line 12 to p. 108, line 18).

           4.   Officer Parker made inconsistent statements regarding his concern for

   preserving a potential crime scene as a basis for having probable cause and arresting Mr.

   Medley (Parker Affidavit ¶¶ 16, 26; Parker pp. 73, line 16 to p. 74, line 18, 131, line 16

   to p. 135, line 15).

           5. Officer Parker’s statements regarding whether he asked for assistance from

   Mr. Medley and the group are inconsistent. (Parker Affidavit, ¶ 26; Parker p.127, line 10

   to p. 128, line 8).

                                 V. MEMORADUM OF LAW

   A.      Officer James Parker did ot have Arguable Probable Cause to Arrest
           William D. Medley.

           No probable cause existed for the arrest of William Medley, and therefore, Officer

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   Parker committed a false arrest and imprisonment, battery, used excessive force in

   violation of the Fourth Amendment and terminated Mr. Medley’s lawful speech and

   assembly in violation of the First Amendment. An arrest is not constitutionally valid

   when at the moment the arrest was made, the officers had no probable cause to arrest.

   Beck v. Ohio, 379 U.S. 89, 91 (1964). Probable cause exists “when the facts and

   circumstances within the officer’s knowledge, of which he or she has reasonably

   trustworthy information, would cause a prudent person to believe, under the

   circumstances shown, that the suspect has committed, is committing, or is about to

   commit an offense. Durruthy v. Pastor, 351 F.3d 1080, 1088 (11th Cir. 2003; Beck, 379

   U.S. at 91.

          Officer Parker’s own version of the facts underlying the arrest have changed

   between the time his deposition was taken and the time he prepared an affidavit in

   support of this Motion for Summary Judgment. During his deposition, Officer Parker

   contended that the basis for probable cause was Mr. Medley’s words and walking in and

   out of the breezeway that caused Officer Parker to be distracted from establishing his

   perimeter. (Parker, p. 164, lines 19-23). As asserted in his affidavit, Officer Parker now

   takes the position that he arrested Mr. Medley for refusing to comply with his order to

   leave. Parker Affidavit ¶ 26. Officer Parker previously acknowledged that he had no

   lawful basis to force Mr. Medley to leave. (Parker, p. 130, line 23 to p. 131, line 7).

          Mr. Medley was standing with a group in the breezeway across the street from his

   sister’s apartment—a location he had a lawful right to be standing. (Parker, p. 113, lines

   13 to 16; p. 128, line 14 to p. 130, line. 24).   When Officer Parker asked the group to

   leave the breezeway or go inside the apartment, Mr. Medley lawfully acted within his



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   rights to refuse to leave the breezeway. (Parker p. 130, line 23 to p. 131, line 7).

   Wilkerson v. State, 556 So.2d 453, 456 (Fla. 1st DCA 1990). The mere refusal to leave

   an area, even while voicing “loud and profane” protests, does not give rise to probable

   cause. J.G.D. v. State, 724 So.2d 711, 711-12 (Fla. 3rd DCA 1999). In his deposition,

   Officer Parker attempted to designate the whole of the Palms Apartments as a crime

   scene. This designation would, in Officer Parker’s opinion give him the right to tell

   anyone within this “crime scene” to leave. Officer Parker understood at the time of his

   deposition that he was not within his lawful authority to actually make someone leave, or

   arrest that person for failing to leave. (Parker, p. 134, line 14 to 135, line 21.) Even if

   designated a crime scene, Mr. Medley could remain in the area. Despite this, Officer

   Parker now attempts to assert through his affidavit that he needed to ensure the integrity

   of a crime scene to establish probable cause for the arrest. (Parker ¶ 16, 26). This is not

   a lawful basis providing probable cause for arrest.

          Officer Parker believed he had probable cause to arrest Mr. Medley at the moment

   he shined his spotlight on Mr. Medley while at his patrol car. (Parker, p. 142, lines 2 to

   5). Officer Parker focused on Mr. Medley because he appeared to be the “antagonist or

   the one most vocal,” of the group of protestors, “did most of the talking”, and called

   Officer Parker a “pussy ass cracker” (Parker, p. 89, line 21 to p. 90, line 1). Officer

   Parker stated he had no reason to believe Mr. Medley was not lawfully in the complex

   (Parker p. 112, lines 13-16). Officer Parker admitted there was no probable cause to

   arrest the other persons in the group. (Parker p. 118, lines 8 to 12). He claimed the

   actions of the other persons were different than Mr. Medley, specifically; (1) Mr.

   Medley’s took two steps north, but still approximately twenty-five feet from Officer



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   Parker, (2) Mr. Medley was larger than the other protestors, and (3) the volume of what

   Mr. Medley said was louder than the other members of the group (Parker, p. 126, lines 6

   to 9). Such facts do not give rise to probable cause.

          B.      The Plaintiff can prevail on his claim for False Arrest

          The Plaintiff has established facts to support a prima facie case of false arrest

   and/or imprisonment against Officer Parker under Florida law. “The gravamen of the tort

   of false arrest is the unlawful restraint of a person against the person’s will.” Jibory v.

   City of Jacksonville, 920 So.2d 666, 667 n. 2 (Fla. 1st DCA 2005).            Plaintiff has

   established restraint contrary to the Plaintiff’s will.    (Parker, p. 109, lines 14-23).

   Plaintiff has also established that the restraint was unlawful. Supra. These are the

   elements of a false arrest claim. Rotte v. City of Jacksonville, 509 So.2d 1252 (Fla. 1st

   DCA 1987), citing City of Hialeah v. Rehm, 455 So.2d 458 (Fla. 3rd DCA 1984). “In a

   false arrest action, probable cause is an affirmative defense to be proven by the

   defendant.” Willingham v. City of Orlando, 929 So.2d 43, 48 (Fla. 5th DCA 2006).

   Therefore, Defendants have the burden of establishing probable cause for the arrest and

   continued detention of the Plaintiff as an affirmative defense.         Rivers v. Dillards

   Department Store, Inc., 698 So.2d 1328, 1331 (Fla. 1st DCA 1997). Under Florida law,

   the defense of probable cause must be submitted to the jury in an action for false arrest or

   imprisonment where there is material controversy as to the facts upon which the police

   officer relied in making the arrest. Hernandez v. Metro-Dade County, 992 F.Supp. 1365,

   1368 (S.D. Fla. 1997).

          In the present case, there is a material controversy as to the facts upon which

   Officer Parker relied in making this arrest.       See probable cause discussion above.



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   Officer Parker alleges that he had probable cause to arrest Mr. Medley for obstruction of

   justice in violation of Florida Statute § 843.02. The statute provides that:

            Whoever shall resist, obstruct, or oppose any officer . . . in the execution
            of legal process or in the lawful execution of a legal duty, without offering
            or doing violence to the person of the officer, shall be guilty of a
            misdemeanor of the first degree.

   Fla. Stat. § 843.02. To support an allegation of arguable probable cause for this crime,

   the officer must be able to articulate facts which support that (1) the officer was engaged

   in the lawful execution of a legal duty; and (2) the action by the defendant constituted

   obstruction or resistance of that lawful duty. H.A.P. v. State, 834 So.2d 237, 239 (Fla. 3rd

   DCA 2002). There are no material undisputed facts supporting either prong. Florida

   courts have held that with the exception of three legal duties, words alone cannot result in

   obstruction of justice. The exceptions are: (1) serving process; (2) legally detaining a

   person; or (3) asking for assistance. Jay v. State, 731 So.2d 774, 775 (Fla. 4th DCA

   1999).

            At the time Officer Parker decided to arrest Mr. Medley he was not serving

   process, was not detaining a person and was not asking for assistance. (Parker p. 127,

   line 5 to p. 128, line 8). Therefore, physical conduct must accompany Mr. Medley’s

   offensive words to give rise to probable cause under Florida Statute § 843.02. There was

   no physical conduct that raised an inference that Mr. Medley physically interfered with

   Officer Parker. They only physical activity Officer Parker alleges was that Mr. Medley

   walking in and out of the breezeway, where he had a lawful right to be. (Parker p. 121,

   lines 1 to 14). If the Defendant’s position is accepted, an officer may order someone to

   leave any time they suspect a criminal suspect to be in the general area. Such is not a

   rational interpretation of police powers.

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          This action did not give rise to any legitimate officer safety concern. (Parker p.

   108, lines 12 to 15). In fact, Officer Parker admitted he had no officer safety concerns

   when he stated, he “felt pretty confident” that he could handle the situation before

   arresting Mr. Medley and that he “felt [he] could accomplish or handle what was in front

   of [him]” (Parker, p.107, line 25, p. 108, lines 14 to15). Probable cause exists when the

   officers at that moment had facts and circumstances within their knowledge and of which

   they had reasonably trustworthy information were sufficient to warrant a prudent man in

   believing that the individual had committed or was committing an offense. Beck v. Ohio,

   379 U.S. 89, 91 (1964). No offense was being committed. If there is no probable cause,

   there can be no valid arrest

          Officer Parker attempts to allege that his actions fall under the third exception to

   the rule that words alone cannot result in obstruction of justice: asking for assistance.

   (Parker Affidavit ¶ 26). In fact, Officer Parker stated in his deposition that at no time did

   he ever ask Mr. Medley for assistance. (Parker, p. 128, lines 5 to 8). Even if his request

   for assistance was to leave the area, he had no lawful basis to force this group to leave.

   See S.D. v. State, 627 So.2d 1261 (Fla. 3rd DCA 1993) (citing Hill, 482 U.S. at 461);

   D.A.W. v. State, 945 So.2d 624 (Fla. 2nd DCA 2006); B.L.M. v. State, 684 So.2d 853

   (Fla. 5th DCA 1996); L.A.T. v. State, 650 So.2d 214 (Fla. 3rd DCA 1995).

          C.      A genuine dispute exists regarding whether Officer
                  Parker used Reasonable Force in arresting Plaintiff.

           “Police use of excessive force is a constitutional violation.” McKinney v. DeKalb

   County, 997 F.2d 1440, 1443 (11th Cir.1993).           The protections under the Fourth

   Amendment which guarantees citizens the right “to be secure in their persons…against

   unreasonable…seizures” of the person, are invoked “where…the excessive force claim

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    arises in the context of an arrest or investigatory stop of a free citizen. Tennessee v.

    Garner, 471 U.S. 1, 8 (1985) as quoted in Graham v. Connor, 490 U.S. 386, 394.              All

    claims that law enforcement officers have used excessive force-deadly or not-in the

    course of an arrest, investigatory stop, or other “seizure” of a free citizen should be

    analyzed under the Fourth Amendment and its “reasonableness” standard. Graham v.

    Connor, 490 U.S. 386, 395.

            Determining whether the force used to effect a particular seizure is “reasonable”

    under the Fourth Amendment requires a careful balancing of “‘the nature and quality of

    the intrusion on the individual's Fourth Amendment interests'” against the countervailing

    governmental interests at stake. Tennessee v. Garner, 471 U.S. at 8, quoting United

    States v. Place, 462 U.S. 696, 703 (1983). Application of the reasonableness standard

    “requires careful attention to the facts and circumstances of each particular case,

    including the severity of the crime at issue, whether the suspect poses an immediate

    threat to the safety of the officers or others, and whether he is actively resisting arrest or

    attempting to evade arrest by flight.” Tennessee v. Garner, 471 U.S. at 8-9 (the question

    is “whether the totality of the circumstances justifie[s] a particular sort of ... seizure”), as

    quoted in Graham v. Connor, 490 U.S. 386, 396. Furthermore, the “reasonableness”

    inquiry in an excessive force case is an objective one: the question is whether the officers'

    actions are “objectively reasonable” in light of the facts and circumstances confronting

    them, without regard to their underlying intent or motivation. Scott v. United States, 436

    U.S. 128, 137-139 (1978); and Terry v. Ohio, 392 U.S. 1, 21 (1968) (in analyzing the

    reasonableness of a particular search or seizure, “it is imperative that the facts be judged

    against an objective standard”).



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           The material facts surrounding Officer Parker’s arrest of Mr. Medley are

    genuinely in dispute as to (1) whether Officer Parker kicked Mr. Medley in the face, (2)

    whether he stomped Mr. Medley and (2) whether Officer Parker tased Mr. Medley while

    his hands were behind his back. (Medley, 137, line 15 to p. 138, line 8). The dispute as

    to whether these facts occurred must be left to the jury. There was no crime committed

    by Mr. Medley and therefore, no severity. It is undisputed that Mr. Medley was not

    committing a crime by verbally protesting and using the breezeway as he was within his

    lawful rights to do. It is undisputed that Mr. Medley posed no immediate threat of danger

    to Officer Parker or others at any time during the confrontation with Officer Parker as he

    had no officer safety concerns. It is undisputed that Mr. Medley offered no active

    resistance before Officer Parker decided to arrest Mr. Medley, and the facts regarding

    whether Mr. Medley offered active resistance during the arrest are in dispute. Therefore,

    under the Graham factors, there was no need to apply force. See Lee v. Ferraro, 284 F.3d

    1188, 1198 (11th Cir. 2002) (a minor crime, no serious threat to the officer or others and

    no active resistance or flight coupled with slamming a head after arrest is “plainly

    excessive”). At that time, according to Officer Parker’s calculations under the use of

    force matrix, Mr. Medley’s actions were consistent with passive resistance (Parker, p.

    142, lines 2 to 10). Officer Parker asserted that Mr. Medley’s “standing there” in the

    breezeway constituted passive resistance (Parker, p. 142, line 13). Mr. Medley was not

    combative or violent, nor was he attempting to actively resist arrest (Parker, p. 142, line

    17 to 19).

           As Officer Parker walked toward Mr. Medley, Mr. Medley turned away and took

    a few steps east toward the breezeway (Parker, p. 91, lines 3 to 5). Officer Parker



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    demanded Mr. Medley to get down on the ground at which point, Officer Parker kicked

    Mr. Medley on the back of the thigh, causing Mr. Medley to lose his balance and fall

    forward to the ground (Parker, p. 92, lines 1 to 9). Officer Parker also kicked Mr. Medley

    in the face, an action not justified even if there was probable cause to arrest Mr. Medley

    and even if he offered passive resistance. (Medley, 138, line 18 to p. 139, line 4; Parker

    p. 151, lines 17 to 18). As soon as he kicked [Medley] in the face, he just went to

    stomping me and stomping me and stomping me.” (Medley, p. 119, lines 13 to 20).

    Officer Parker then put his foot on top of Mr. Medley’s hand, behind his back and shot

    Mr. Medley with the taser in his back. (Medley, p. 137, line 15 to p. 138, line 8). The

    time between kicking Mr. Medley and deploying the taser was only “a couple of

    seconds” (Parker, p. 99).

       Under the use of force continuum, when somebody is offering passive resistance, the

    types of techniques that may be used in order to get compliance include, pressure points,

    armed bar wrist locks, and other measures not likely to injure somebody. (Parker, p.

    149). The use of a taser or the use of a knee or leg strike is not allowed under passive

    resistance (Parker, p. 149). Similarly, kicking the face of a person being arrested is not

    within the officer’s power whether responding to passive or active resistance.

           The Defendant’s reliance on Buckley v. Haddock, 292 Fed. Appx. 791 (11th Cir.

    Fla. 2008) is misplaced.    In Buckley, the events leading up to the use of a taser by the

    police officer elapsed over a much longer time period. During this time the officer also

    returned to his patrol car on multiple occasions to request back up, and then went back to

    the plaintiff who still insisted on remaining uncooperative. Id. The court reasoned that

    the plaintiff’s ample warning and opportunity to cease resisting helped to justify the



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    reasonableness of the officer’s actions under those facts. Id. at 796. In the present case,

    Mr. Medley was not given ample warning or opportunity to cease resisting, nor did he

    have any obligation to comply with the officer’s commands to leave. Officer Parker

    announced Mr. Medley was under arrest after shining a spotlight and being called a

    name. According to Officer Parker, he deployed his taser to get Medley to put his hands

    behind his back after being kicked to the ground. The time between Officer Parker’s

    kicking Medley to the ground and deploying the taser lasted no longer than “a couple of

    seconds”. (Parker p. 99, lines 3 to 6). In fact, Officer Parker does not recall whether he

    told Mr. Medley to put his hands behind his back, or he deployed his taser first. (Parker,

    p. 95, lines 17 to 21). Mr. Medley had no time to reflect upon Officer Parker’s demand

    or effectively cooperate. Furthermore, in Buckley, the facts establish that Plaintiff was

    committing a criminal offense at the time of his arrest by refusing to sign a traffic ticket,

    and therefore probable cause was well established. At the time of his arrest, Mr. Medley

    verbally protested the police and walked in the breezeway, neither of which are crimes.

            A reasonable jury may find that Officer Parker exhibited excessive use of force by

    going outside the bounds of reasonable force when arresting Mr. Medley.              Such a

    decision would support a finding that Officer Parker violated Mr. Medley’s Fourth

    Amendment prohibition against unreasonable seizures. Therefore, the evidence permits a

    jury to return a verdict for the Plaintiff.

            D.      Plaintiff is ot Precluded from Bringing a Claim for Excessive Use of
                    Force Under 42 U.S.C. § 1983 pursuant to the De Minimus Force
                    Rule.

            The force used in this case is more than de minimus and thus gives rise to a

    Constitutional violation.     “Unreasonable force does not become reasonable simply



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    because the fortuity of the circumstances protected the plaintiff from suffering more

    severe physical harm.” Lee, 284 F.3d at 1200. Where force is used without probable

    cause, it is inappropriate. Nolin v. Isbell, 207 F.3d 1253 (11th Cir. 2000); citing Thornton

    v. City of Macon, 132 F.3 1395 (11th Cir. 1998) and Sheth v. Webster, 145 F.3d 1231

    (11th Cir. 1998). In Lee, under a Graham analysis, banging a head against the trunk of a

    car after arrest was clearly “beyond all doubt” excessive use of force and did not protect

    the officer under qualified immunity. Here, the force used included kicking the plaintiff

    in the face and tasing him in the back when he was complying with commands. Such

    force is clearly more excessive than the force used in Lee. Therefore, the Defendant is

    not protected by the de minimus force rule.

           E.      The facts give rise to a cause of action for Violation of Mr. Medley’s
                   First Amendment Rights pursuant to 42 U.S.C. § 1983.

           Plaintiff was arrested for asserting his First Amendment rights to speech and

    assembly. Mr. Medley assembled with and actively participated with a group engaged in

    verbal protests against the police and Officer Parker, neither of which amounts to a

    criminal offense. The First Amendment serves to protect a “significant amount of verbal

    criticism and challenge directed at police officers.” City of Houston v. Hill, 482 U.S. 451,

    461 (1987); See Id. at 465 (The First Amendment does not permit states to “provide the

    police with unfettered discretion to arrest individuals for words or conduct that annoy or

    offend them.”). Free speech under our system of government is often “provocative and

    challenging…and may “induce condition[s] of unrest, create dissatisfaction with

    conditions as they are, or even stir people to anger.” Terminiello v. City of Chicago, 337

    U.S. 1, 4 (1949). Unless it can be shown that there is a clear and present danger of both

    an extremely serious substantive evil and high degree of imminence, the First

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    Amendment will protect speech against censorship or punishment. Bridges v. State of

    Cal., 314 U.S. 252, 263 (1941). Therefore, the speech must rise far above “public

    inconvenience, annoyance, or unrest” in order to be restricted. Terminiello, at 4. To

    punish otherwise, is to punish merely for spoken words, which is in direct contravention

    of First Amendment freedoms.        Officer Parker responded to verbal protests by the

    Plaintiff and used physical force to affect the arrest of the Plaintiff in response to the

    verbal protests. Such verbal protests of the Plaintiff were protected speech.

           Just as Mr. Medley invoked his right to freedom of speech by voicing verbal

    protests to the police, he similarly invoked his right to freedom of association by acting in

    congruence with a group aimed at verbally protesting the police. Freedom of association

    is integral to the speech and assembly protected by the First Amendment, since

    “[e]ffective advocacy of private points of view, particularly controversial ones, is

    undeniably enhanced by group association.” NAACP v. Alabama ex rel. Patterson, 357

    U.S. 449, 460 (1958). Thus, an “individual’s freedom to speak…[can]not vigorously be

    protected from interference by the state unless a correlative freedom to engage in group

    effort towards those ends [are] not also guaranteed.” Roberts v. United States Jaycees,

    468 U.S. 609, 622 (1984).

           The Plaintiff has established that (1) Mr. Medley’s speech and acts were

    constitutionally protected; (2) Officer Parker’s retaliatory conduct adversely affected the

    protected speech and lawful assembly; and (3) Officer Parker’s arrest of Mr. Medley

    adversely effected Mr. Medley’s ability to speak and assemble. Bennett v. Hendrix, 423

    F.3d 1247, 1250 (11th Cir. 2005). In the present case, the Defendants deprived the

    Plaintiff of his right to Speech and Assembly as guaranteed by the First Amendment to



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    the United States Constitution, in that Defendant terminated both his speech and his

    lawful assembly. The Plaintiff was assembling lawfully with friends and voicing verbal

    protests to police authority in the neighborhood, when the Defendant ordered him to

    leave. (Parker, p. 72; p. 78 line, 17 to p. 79, line 7).

            With regard to the first element of the Bennett analysis, even if one were to

    believe Officer Parker, Mr. Medley calling Officer Parker a “pussy ass cracker” is

    protected speech. Cohen v. California, 403 U.S. 15 (1971). The other words by Mr.

    Medley were his assertion that he had a right to be where he was and could not be forced

    to move by law enforcement. (Medley, p. 188, lines 12 to 23). Such speech does not

    constitute fighting words or some other constitutionally proscribed speech. Accordingly,

    Plaintiff’s speech opposing police authority is protected by the First Amendment.

            With regard to the second element, Plaintiff “suffers adverse action if the

    defendant’s alleged retaliatory conduct would deter a person of ordinary firmness from

    the exercise of First Amendment rights.” Bennett, 423 F.3d at 1254. The threshold for

    allowing retaliatory conduct is slight. “The effect on freedom of speech may be small,

    but since there is no justification for harassing people for exercising their constitutional

    rights it need not be great in order to be actionable.” Id. Arrest and physical detention

    would deter an ordinary person from exercising their First Amendment rights.

            With regard to the third element, Plaintiff would not have been arrested absent his

    speech directed towards Officer Parker. It is clear according to Officer Parker that the

    others with Mr. Medley were acting the same, but Officer Parker could only remember

    the slur “pussy ass cracker” which he assumed came from Mr. Medley. (Parker, p. 100,

    lines 5 to 19). In fact, the only actions by Mr. Medley that were different from the other



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    persons involved were that Mr. Medley was louder and a little closer.        (Parker, p. 120,

    lines 13 to 20). Therefore, Plaintiff has stated a cause of action for violation of Mr.

    Medley’s First Amendment Rights to Speech and Assembly.

       F.      Officer Parker is ot entitled to Qualified Immunity

            Defendant Parker argues that he is entitled to qualified immunity pursuant to Florida

    Statute § 768.28. Officer Parker suggests that he is entitled to immunity from suit and

    from damages against him personally by virtue of section 768.28(9)(a), Florida Statutes,

    (2003), which reads as follows:

            No officer, employee, or agent of the state or of any of its subdivisions
            shall be held personally liable in tort or named as a party defendant in any
            action for any injury or damage suffered as a result of any act, event or
            omission of action in the scope of her or his employment or function,
            unless such officer, employee, or agent acted in bad faith or with
            malicious purpose or in a manner exhibiting wanton and willful disregard
            of human rights, safety, or property. (Emphasis Added)

    Officer Parker acted in violation of clearly established law and therefore, qualified

    immunity does not apply. “Clearly established” means that “the contours of the right

    must be sufficiently clear that a reasonable official would understand that what he is

    doing violates that right.”   Wilson v. Layne, 526 U.S. 603, 615 quoting Anderson v.

    Creighton, 483 U.S. 635 (1987). This essentially means, “in the light of pre-existing law

    the unlawfulness must be apparent.” Id.

            There is a shifting burden test for determining whether qualified immunity

    applies: first, the officer must establish he was acting within the course and scope of his

    discretionary authority, and then the burden shifts to the plaintiff to establish the officer

    violated clearly established constitutional rights which the officer should have been

    aware. Gentile v. Bauder, 718 So.2d 781, 784 (Fla. 1998). Stated another way; qualified

    immunity does not protect those officers who act incompetently or knowingly violate the
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    law. GJR Investments, Inc., 132 F.3d 1359, 1366 (11th Cir. 1998). “Plainly, an arrest

    without probable cause violates the right to be free from an unreasonable search under the

    Fourth Amendment.” Redd v. City of Enterprise, 140 F.3d 1378, 1382 (11th Cir. 1998).

    Additionally, because identifying factually similar cases may be difficult, under a Fourth

    Amendment analysis, a plaintiff may meet their burden and defeat qualified immunity if

    “the official’s conduct lies so obviously at the very core of what the Fourth Amendment

    prohibits that the unlawfulness of the conduct is readily apparent to the official,

    notwithstanding the lack of case law”. Priester v. City of Riviera Beach, 208 F.3d 919,

    926 (11th Cir. 2000) quoting Smith v. Mattox, 127 F.3d 1416, 1419 (11th Cir. 1997).

           An objectively reasonable prudent officer in Officer Parker’s position would have

    known that tasing and kicking an arrestee engaged in passive resistance constitutes

    excessive use of force and kicking the face of an arrestee is an excessive use of force

    whether an arrestee is passively or actively resisting. Therefore, Officer Parker is not

    entitled to qualified immunity on the excessive use of force claim.

           Under Hill and its progeny, no reasonable officer could possibly have believed

    that Medley’s words were criminal. Medley’s speech is precisely the kind that lies at the

    core of the First Amendment. There is nothing in the facts of this case even remotely to

    suggest that Medley’s speech could be construed as falling within the very narrow

    category of fighting words or any other category of constitutionally proscribable speech.

    The Eleventh Circuit “has held since at least 1988 that it is ‘settled law’ that the

    government may not retaliate against citizens for the exercise of First Amendment rights.

    Bennett, 423 F.3d at 1256. Accordingly, the officer in this case is not entitled to qualified

    immunity under the First Amendment claims.



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       F.      Plaintiff States a Cause of Action for False Arrest and/or Imprisonment and
               Battery Against Officer James Parker , Individually, as set forth in Count II
               and Count V

            The Defendant alleges that Plaintiff has failed to support a cause of action for false

    arrest as alleged in Count II of Plaintiff’s Third Amended Complaint as probable cause

    existed. Defendant further argues that Plaintiff may not maintain the battery claim as

    alleged in Count V of Plaintiff’s Third Amended Complaint as the force used was

    reasonable. Plaintiff takes the position that probable cause did not existed as discussed

    above, therefore the arrest was false and any force used was excessive, as discussed above.

    Additionally, Defendant argues that he is entitled to the protections of Florida Statute §

    768.28(9)(a). In fact, the record before this court provides evidence that Officer Parker

    acted “in bad faith or with malicious purpose or in a manner exhibiting wanton and willful

    disregard” of Mr. Medley’s rights. Arresting Mr. Medley when he knew probable cause did

    not exist was an action in wanton and willful disregard for Mr. Medley’s rights. He

    admitted the actions taken by Mr. Medley prior to his decision to arrest Mr. Medley were

    lawful. Additionally, there is evidence of bad faith or malicious purpose. Officer Medley

    told the female in the crowd, “Shut up you black monkey. I pay for this. We pay for this

    with our tax money.” (Medley p. 119 lines 5 to 7). He called Mr. Medley and the others

    “niggers” and” low-lifes”. (Nicolas, p. 48, line 15 to p. 49, line 2). Officer Parker’s actions

    of kicking Mr. Medley in the face, stomping on him and tasing him in the back while his

    hands were restrained demonstrate malice. (Medley p. 119, lines 13 to 20). As such a jury

    may find that Officer Parker was acting either in the scope of his employment, and therefore

    the City of Orlando would be liable for these state law torts, or outside the scope of his




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    employment, and therefore, Officer Parker would be liable.           Fla. Stat. § 768.28(9)(a).

    Therefore, summary judgment should be denied regarding the state law claims.

                                                 V. COCLUSIO

    Based upon the foregoing, Defendant’s Motion for Summary Judgment should be denied.

             WHEREFORE, Plaintiff, WILLIAM D. MEDLEY, respectfully requests this

    Honorable Court deny Defendant’s Motion for Summary Judgment and for such further

    relief as this Court deems just and appropriate.

                                        CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on the 11th day of June, 2009, the foregoing was
    electronically filed with the Clerk of Court by use of the CME/ECF system, which will
    provide notice of electronic filing to the following: Bobby G. Palmer, Jr., Esquire,
    [bpalmer@hilyardlawfirm.com], Hilyard, Bogan & Palmer, P.A., P.O. Box 4973,
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                                                  __s/ Jeremy K. Markman_______________
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